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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,

                                                              Case No. 17-80242-cr-Rosenberg
  vs.

  ALEJANDRO ANDRADE CEDENO

        Defendant.
  ____________________________________/

              ALEJANDRO ANDRADE CEDENO’S UNOPPOSED MOTION
        TO CORRECT SENTENCE OR ALTERNATIVELY TO AMEND THE COURT’S
           DESIGNATION RECOMMENDATION TO THE BUREAU OF PRISONS

         Alejandro Andrade Cedeno files this Motion to Correct Sentence or Alternatively to

  Amend the Court’s Recommendation regarding Mr. Andrade’s Bureau of Prison’s Designation.

         1.        On December 18, 2017, the United States Attorney’s Office filed an information

  which charged Mr. Andrade with conspiracy to engage in money laundering in violation of 18

  U.S.C. § 1957.

         2.        On December 22, 2017, Mr. Andrade plead guilty to the charges in the

  Information.

         3.        On November 27, 2018, the Court held a sentencing hearing for Mr. Andrade.

         4.        During the sentencing hearing, counsel for Mr. Andrade requested that the Court

  recommend to the U.S. Bureau of Prisons that Mr. Andrade be designated to “FCI Coleman

  Low” the Federal Correctional Institution located in Sumterville, Florida. The United States did

  not oppose this request.



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          5.        On November 30, 2018, the Court issued its Judgment and Commitment Order

  and included a recommendation that the U.S. Bureau of Prisons designate Mr. Andrade to

  Coleman Low. The Order says: “The Court makes the following recommendations to the Bureau

  of Prisons: that the defendant be incarcerated at FCI-Coleman Low.                         The Court further

  recommends that the defendant no be incarcerated in a private of contract facility.”

          6.        Counsel for Mr. Andrade made the request for FCI Coleman Low in error. For a

  variety of reasons, Mr. Andrade requests that the Court change its recommendation so that “FCI

  Jesup-Low” the Federal Correctional Institution in Jesup, Georgia is inserted instead of “FCI-

  Coleman-Low.” The United States does not oppose this request.

          7.        Specifically, Mr. Andrade requests that the J&C now say: “The Court makes the

  following recommendations to the Bureau of Prisons: that the defendant be incarcerated at FCI-

  Jesup Low. The Court further recommends that the defendant no be incarcerated in a private of

  contract facility.”

          8.        Fed.R.Cr.P. 35(a) allows the court (within 14 days after sentencing), to “correct a

  sentence that resulted from arithmetical, technical, or other clear error.”

          9.        Accordingly, Mr. Andrade requests that the Court correct the Judgment and

  Commitment Order solely to reflect a recommendation to Jesup Low rather than Coleman Low.




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         10.     To the extent that the Court determines that Fed.R.Cr.P. 35(a) does not apply to

  this situation, Mr. Andrade requests that the Court enter an order modifying the recommendation

  in the Judgment and Commitment Order from Coleman Low to Jesup Low.

         11.     The Assistant United States Attorneys assigned to this case have advised counsel

  for Mr. Andrade that the United States does not oppose the relief requested in this Motion.



                                                        Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

         I hereby certify that on December 3, 2018, I filed a true and correct copy of the foregoing

  document with the Clerk of the Court using the CM/ECF system, which will cause a Notice of

  Electronic Filing to be delivered by e-mail to all counsel of record.




                                                              /s/ Stephen James Binhak
                                                            STEPHEN JAMES BINHAK




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